Case 2:04-cr-20081-.]PI\/| Document 111 Filed 05/18/05 Page 1 of 2 Page|D 177

UNITED STATES DISTRICT COURT
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WESTERN DISTRICT 0F TENNESSEE §`=-"»Y ?8 PH 2: 19

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APPLICATION. 0RDER and WRIT FOR HABEAS CORPUS AD PROSE§§'i_FEND

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-;;');?
Dall L. Newsom applies to the Court for a Writ to have Jamie Dawn Fori'£'$`ifi‘, n eing
_:, re

UNITED sTATES or AMERICA )
)
VS. )
) CR No. 04-20081-M1
JAMIE DAWN FORRESTER )
Tomis #388597 ) .'=="“
Bkg. #28052 ) ~'3'

gray m ‘C
detained in the Obion County Jail, #1 Law Lane, Union City, Tennessee 38261, ('731) 885-5839, ('73`1)

885-6562 (fax) appear before the Honorable Jon Phipps McCalla on May 20, 2005, at 11:00 a.m. for

Re-sentencing and for such other appearances as this F \ t may direct.

  
 
 

Respectfully submitted this _1_8_ day of May, 20|

 
 
 

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Dan L. Newsom
Assistant U. S. Attorny

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Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
SHERIFF/WARDEN, Jerry Vastbinder

YOU ARE HEREBY COMMANDED to have .Iamie Dawn Forrester appear before the Honorable J on

Phipps McCalla at the date and time aforementioned

ENTEREDthis /Y'M‘day of WA"-i ,2005.

UNTTED STATES MAGISTRATE JUDGE
n the docket sheet in compliance

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DISTRIC COURT - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 111 in
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Honorable Jon McCalla
US DISTRICT COURT

